                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON

                                        Electronically Filed

DAVID WILSON, as Administrator of the
Estate of Lisa Noble, Deceased, Plaintiff
                                                   C.A. No.: 6:17-157-KKC

VS.                                                NOTICE OF PLAINTIFF’S SERVICE OF
                                                   WRITTEN DISCOVERY TO
                                                   DEFENDANTS COOPER AND BEACON
BEACON TRANSPORT, LLC and
TERRAN COOPER, Defendants




         The Plaintiff, by counsel, served each Defendant with a set of written discovery

containing Interrogatories, Requests for Admission and Requests for Production of documents

today.



                                              Respectfully submitted,



                                              _ /s/Timothy D. Lange___________
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                                                ATTORNEYS FOR PLAINTIFF




                                          CERTIFICATE


          It is hereby certified that on August 8, 2017 the foregoing was filed with the Clerk of the

Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of

record.



                                                /s/ Timothy D. Lange
                                                TIMOTHY D. LANGE




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